     Case 1:18-cr-00253-ADA-BAM Document 108 Filed 07/08/19 Page 1 of 3


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 8                                    UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    UNITED STATES OF AMERICA,                         No. 1:18-cr-00253 DAD-BAM
12                       Plaintiff,
13           v.                                         STIPULATION AND ORDER
14    HALEN STEVEN PATRICK FRAZIER,
15                       Defendants.
16

17          Plaintiff United States of America, by and through its counsel of record, and defendant, by

18   and through his counsel of record, hereby stipulate as follows:

19          1.      This matter was previously set for a status conference before Magistrate Judge

20                  Barbara A. McAuliffe on August 12, 2019, at 1 p.m.

21          2.      As to this defendant only, the parties agree to continue the matter to September 3,

22                  2019, at 10 a.m. for a change of plea before the district court to ensure continuity

23                  of counsel and availability of the defendant, who is subject to remand at the time

24                  of his entry of a guilty plea.

25          3.      The parties further agree and stipulate, and request that the Court find the

26                  following:

27                  a.      The parties believe that failure to grant the above-requested continuance

28                  would deny the defendant the reasonable time necessary to ensure continuity of
                                                       1
     Case 1:18-cr-00253-ADA-BAM Document 108 Filed 07/08/19 Page 2 of 3


 1               defense counsel and availability of the defendant.

 2               c.      Based on the above-stated findings, the ends of justice served by

 3               continuing the case as requested outweigh the interest of the public and the

 4               defendant in a trial within the original date prescribed by the Speedy Trial Act.

 5               d.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

 6               3161, et seq., within which trial must commence, the time period of August 12,

 7               2019, to September 3, 2019, inclusive, is deemed excludable pursuant to 18 U.S.C.

 8               § 3161(h)(7)(A), because it results from a continuance granted by the Court at the

 9               parties’ request on the basis of the Court’s finding that the ends of justice served

10               by taking such action outweigh the best interest of the public and the defendant in

11               a speedy trial.

12               4.      Nothing in this stipulation and order shall preclude a finding that other

13               provisions of the Speedy Trial Act dictate that additional time periods are

14               excludable from the period

15   IT IS SO STIPULATED.

16   DATED:      July 5, 2019.          Respectfully submitted,

17                                      McGREGOR W. SCOTT
18                                      United States Attorney

19                                      /s/ Karen A. Escobar___________________
                                        KAREN A. ESCOBAR
20                                      Assistant United States Attorney
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     Case 1:18-cr-00253-ADA-BAM Document 108 Filed 07/08/19 Page 3 of 3


 1   DATED:        July 5, 2019.
 2                                       /s/ Michael Edward Reardon
 3                                       MICHAEL EDWARD REARDON
                                         Counsel for Halen Steven Patrick Frazier
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 6
                                               ORDER
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 8          Good cause having been shown, the Status Conference currently set for August 12, 2019 is

 9   vacated and a Change of Plea Hearing is set for September 3, 2019, at 10:00 a.m. in courtroom 5

10   before District Judge Dale A. Drozd. Time shall be excluded by stipulation from the parties and

11   pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv).

12
     IT IS SO ORDERED.
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        Dated:    July 8, 2019
14                                                   UNITED STATES DISTRICT JUDGE
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